
668 S.E.2d 341 (2008)
STATE of North Carolina
v.
Lamont D. CARTER.
No. 345P08.
Supreme Court of North Carolina.
October 9, 2008.
Duncan McCormick, Lillington, for Lamont Carter.
Thomas Pitman, Special Deputy Attorney General, C. Colon Willoughby, Jr., District Attorney, for State.
Prior report: ___; N.C.App. ___, 661 S.E.2d 895.


*342 ORDER

Upon consideration of the petition filed on the 22nd day of July 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
